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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

THE PHOENIX INSURANCE COMPANY                          Civ. A. No. 3:19-cv-00449 (SRU)
LTD., et al.,

               Plaintiffs,

       v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

               Defendants.                             December 13, 2019

      DEFENDANTS’ MOTION TO CONSOLIDATE WITH RELATED ACTIONS

       Pursuant to the Court’s November 18, 2019 Civil Case Management Order in the action

styled Ontario Teachers’ Pension Plan Board, et al. v. Teva Pharmaceutical Industries Ltd., et

al., No. 3:17-cv-00558 (SRU) (the “Ontario Action”) and Fed. R. Civ. P. 42(a), Defendants

hereby move to consolidate for pre-trial purposes this action with the Ontario Action. For the

reasons set forth in the Joint Motion to Consolidate Related Actions filed today in the Ontario

Action (Ontario, ECF No. 311) and further papers filed therein, which are attached as Exhibit 1

and incorporated herein by reference, Defendants submit that consolidating for pretrial purposes

the fifteen Teva-related U.S. individual actions pending in this District in the manner set forth in

the Proposed Order attached as Exhibit B to Exhibit 1 will enable this Court and the parties to

efficiently manage the related actions, avoid duplicative and expensive discovery efforts and

disputes, and preserve judicial and party resources.       Accordingly, Defendants respectfully

request the entry of an Order in the form of the Proposed Order at Exhibit B.




                                                        ORAL ARGUMENT NOT REQUESTED
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                                  Respectfully submitted,

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